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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

V.                              CASE NO. 5:15-CR-50079-001

ADELINA MAGANA FERNANDEZ
a/k/a Adenlina Magana Fernandez
a/k/a Adenlina Magana Hernandez                                           DEFENDANT


                                         ORDER

       Currently before the Court is the Report and Recommendation (Doc. 26) filed in

this case on December 16, 2015, by the Honorable Erin L. Setser, United States

Magistrate Judge for the Western District of Arkansas. Both parties have waived the

right to object to the Report and Recommendation for the purpose of expediting

acceptance of the guilty plea in this matter. (Doc. 25, ¶ 3).

       The Court has reviewed this case and, being well and sufficiently advised, finds

as follows: the Report and Recommendation is proper and should be and hereby is

ADOPTED IN ITS ENTIRETY. Accordingly, Defendant’s guilty plea is accepted, and

the written plea agreement is TENTATIVELY APPROVED, subject to final approval at

sentencing.

       IT IS SO ORDERED this 16th day of December, 2015.



                                                 /s/ Timothy L. Brooks
                                                 TIMOTHY L. BROOKS
                                                 UNITED STATES DISTRICT JUDGE
